 

Case MDL No. 482. Document 2. Filed 05/19/15

  
  
 

DOCKET NO. 482
BEFORE THE JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

IN RE AIR CRASH AT KIMPO INTERNATIONAL AIRPORT, KOREA, One|
NOVEMBER 15, 1980

TRANSFER ORDER

This litigation consists of the seven actions listed
on the attached Schedule A and pending in two federal districts
as follows: six in the Central District of California and
one in the Southern District of Texas. Presently before
the Panel is a motion, pursuant to 28 U.S.C. §1407, brought
by Korean Air Lines, a defendant in all actions, to centralize
all actions in the Central District of California. All
parties to the actions listed on Schedule A favor or do
not oppose transfer of the Texas action to the Central District
of California for coordinated or consolidated pretrial proceed-
ings with the actions pending there. The Panel has found,
upon consideration of the papers submitted, that these
actions involve common questions of fact and that transfer
will serve the convenience of the parties and witnesses
and promote the just and efficient conduct of this litigation.

If IS THEREFORE ORDERED that, pursuant to 28 U.S.C.
§1407, the action listed on the attached Schedule A and
pending in the Southern District of Texas be, and the same
hereby is, transferred to the Central District of California
and, with the consent of that court, assigned to the Honorable
Terry J. Hatter, Jr. for coordinated or consolidated pretrial
oroceedings with the actions pending in that district and
listed on Schedule A.

Cee THE PANEL:

 

Andrew A. Caffrey
Chairman

1/ All parties waived oral argument and therefore this
matter was submitted for decision on the basis of the papers
filed. See Rule 14, R.P.J.P.M.L., 89 F.R.D. 273, 283-84
(1981). °°

 
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SCHEDULE A

Southern District of Texas
OK Sun Paek v. Korean Air Lines, C.A. No. B-81-117

Central District of California
Mark Hammerschlag, etc. v. Korean Air Lines, C.A. No. CV81-158-TJH
Ellen Van Fleet, etc. v. Korean Air Lines, C.A. No. CV81-159-—TJH
Continental Insurance Co. of New York (Daewoo Industrial Co. Ltd. )

v- Korean Air Lines, C.A. No. CV81-3178-TJH

Kuen U. Kim, et al. v. Korean Air Lines, C.A. No. CV81-~ 2317-TJH

 

 

 

 

 

 

Herbert R. Hayden v. Korean Air Lines Co., Ltd., et al., C.A. No.
CV81-~3785-TJH

Angelee Sailer v. Korean Air Lines Co., Ltd., et al., C.A. No.
CV81-3784-TJH :

 
